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 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                            CASE NO. 1:20-CR-00123-DAD-BAM

11                                Plaintiff,              STIPULATION AND PROTECTIVE ORDER
                                                          BETWEEN THE UNITED STATES AND
12                          v.                            DEFENDANT MARIA MUNOZ

13   MARIA MUNOZ,                                         COURT: Hon. Barbara A. McAuliffe

14                                Defendant.

15

16          WHEREAS, the discovery in this case contains information relating to the actions of as-yet

17 unindicted co-conspirator(s) (“Protected Information”); and

18          WHEREAS, the parties desire to avoid the unauthorized disclosure or dissemination of this

19 information to anyone not a party to the court proceedings in this matter;

20          The parties agree that entry of a stipulated protective order is appropriate.

21          THEREFORE, Defendant Maria Munoz, by and through her counsel of record (“Defense

22 Counsel”), and the United States of America, by and through Assistant United States Attorney Laura D.

23 Withers, hereby agree and stipulate as follows:

24          1.      This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of

25 Criminal Procedure, and its general supervisory authority.

26          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

27 part of discovery in this case (hereafter, collectively known as “the discovery”).

28          3.      By signing this Stipulation and Protective Order, Defense Counsel and Defendant agree


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 1 not to share any documents that contain Protected Information with anyone other than Defendant,

 2 Defense Counsel attorneys, designated defense investigators, and support staff.

 3          4.      The discovery and information therein may be used only in connection with the litigation

 4 of this case and for no other purpose. The discovery is now and will forever remain the property of the

 5 United States of America (“Government”). Defense counsel will return the discovery to the

 6 Government at the conclusion of the case after the exhaustion of all direct and collateral appeals.

 7          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

 8 ensure that it is not disclosed to third persons in violation of this agreement.

 9          6.      Defense Counsel shall be responsible for advising the Defendant, employees, and other

10 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

11          7.      In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to

12 withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by

13 this Order.

14          IT IS SO STIPULATED.

15

16   Dated: August 3, 2020                                    MCGREGOR W. SCOTT
                                                              United States Attorney
17

18                                                     By: /s/ Laura D. Withers
                                                           LAURA D. WITHERS
19                                                         Assistant United States Attorney

20

21 Dated: August 3, 2020                               By: _/s/ Caroline McCreary___________
                                                           CAROLINE MCCREARY
                                                           Attorney for Defendant
22                                                         MARIA MUNOZ
23
     IT IS SO ORDERED.
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25      Dated:     August 4, 2020                              /s/ Barbara A. McAuliffe            _
                                                        UNITED STATES MAGISTRATE JUDGE
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